901 F.2d 1131
    284 U.S.App.D.C. 79
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of America,v.Joseph S. WRIGHT, Appellant.
    No. 89-3018.
    United States Court of Appeals, District of Columbia Circuit.
    April 23, 1990.
    
      Before SILBERMAN, STEPHEN F. WILLIAMS and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This cause was considered on the record from the United States District Court for the District of Columbia, and was briefed by counsel.  While the issues presented occasion no need for an opinion, they have been accorded full consideration by the Court.  See D.C.Cir.R. 14(c) (August 1, 1987).  We reject appellant's contention that the admission of his shirt containing a white powder was reversible error.  The Government demonstrated appellant's connection to the room where the police discovered heroin, and the jury was well aware throughout the trial that the Government had not chemically tested the powder on appellant's shirt.  Based on our review of the record, we cannot conclude that the district court abused its discretion in admitting the shirt into evidence, it is
    
    
      2
      ORDERED and ADJUDGED, by this Court, that the judgment of the District Court appealed from in this case is hereby affirmed.  It is
    
    
      3
      FURTHER ORDERED, by this Court, sua sponte, that the Clerk shall withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.R. 15(b)(2) (August 1, 1987).  This instruction to the Clerk is without prejudice to the right of any party at any time to move for expedited issuance of the mandate for good cause shown.
    
    